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 6
     Attorneys for the United States of America
 7
                                  UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9   UNITED STATES OF AMERICA,                     )
                                                   )   Case No.: 2:19-cr-00301-GMN-DJA
10                   Plaintiff,                    )
                                                   )   STIPULATION TO CONTINUE
11                                                 )   DEFENDANT’S SENTENCING
            vs.                                    )   HEARING
                                                   )   (First Request)
12   FRANK SMITH,                                  )
                                                   )
13                   Defendant.                    )
                                                   )
14

15          IT IS HEREBY STIPULATED AND AGREED by and between, Nicholas A.

16   Trutanich, United States Attorney, District of Nevada, CHRISTOPHER LIN, Assistant

17   United States Attorney, representing the United States of America, and LUCAS

18   GAFFNEY, Esq., counsel for defendant SMITH, that the Sentencing Hearing currently

19   scheduled for January 6, 2021 at 11:00 A.M. be vacated and continued to a date and time

20   convenient for the Court but no sooner the 45 days from the current setting.

21          This stipulation is entered into for the following reasons:

22          1.      The U.S. Probation Office recently informed the Government and counsel for

23   the defendant that defendant SMITH was arrested in Tennessee for the theft of 34 laptop

24   computers from a Best Buy sore in Kentucky. The Government and counsel for the defendant
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 1   agree that the facts and circumstances should be investigated prior to defendant SMITH’s

 2   sentencing hearing and to allow Probation to incorporate the facts of this arrest in the

 3   forthcoming Presentence Investigation Report.

 4          2.      This continuance will also allow counsel for the defendant additional time to

 5   obtain mitigating information relevant to sentencing disposition and to prepare for the

 6   sentencing hearing.

 7          3.      The parties agree to this continuance.

 8          4.      Defendant SMITH is at liberty on the instant matter and does not object to

 9   this continuance.

10          5.      This is the first request for a continuance of the sentencing hearing.

11               DATED this 6th day of November, 2021.

12
                                                 NICHOLAS A. TRUTANICH
13                                               United States Attorney

14
                                                 /s/ Christopher Lin_____________
15                                               CHRISTOPHER LIN
                                                 Assistant United States Attorney
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17                                               /s/ Lucas Gaffney______________
                                                 LUCAS GAFFNEY, ESQ.
18                                               Counsel for Defendant SMITH

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 1                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 2

 3   UNITED STATES OF AMERICA,                     )
                                                   )   Case No.: 2:19-cr-00301-GMN-DJA
 4                 Plaintiff,                      )
                                                   )   ORDER TO CONTINUE
                                                   )   DEFENDANT’S SENTENCING
 5         vs.                                     )   HEARING
                                                   )
 6   FRANK SMITH,                                  )
                                                   )
 7                 Defendant.                      )
                                                   )
                                                   )
 8

 9
           Based on the stipulation of counsel, the Court finds that good cause exists to continue
10
     Defendant SMITH’s Sentencing Hearing date currently set for January 6, 2021 at 11:00
11
     a.m., to Wednesday, March 3, 2021 at 10:00 a.m.
12

13                     9 day of November, 2020.
           DATED this ___
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                                               __________________________________
                                               UNITED STATES DISTRICT JUDGE
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